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7
                                 UNITED STATES DISTRICT COURT
8
                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                   )   Case No.: Cr.S-09-170-GEB
     United States of America,                       )
11                                                   )
                    Plaintiff,                       )   (PROPOSED) ORDERTO CONTINUE
12                                                   )   STATUS CONFERENCE
            vs.                                      )
13                                                   )
     Robert L. Carr and Theresa Ann Carr,            )
14                                                       DATE: September 21, 2012
                                                     )
                    Defendants                       )   TIME: 9:00 a.m.
15                                                   )   JUDGE: Hon. Garland E. Burrell, Jr.
                                                     )
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18
                                                  ORDER
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            Based on the stipulation of the parties and good cause appearing therefrom, the Court
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     hereby orders that the September 21, 2012, status conference shall be continued to October 5,
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     2012, at 9:00 a.m. The Court finds that the failure to grant a continuance of the September 21,
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     2012, date now set for a Status Conference in this case would deny defense counsel reasonable
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     time necessary for effective preparation, taking into account the exercise of due diligence. The
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     Court specifically finds that the ends of justice served by the granting of such a continuance
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     outweigh the interests of the public and the defendants in a speedy trial and that the computation



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1    of time within which the trial of this matter must be commenced under the Speedy Trial Act shall

2    be excluded during the time period from and including September 21, 2012, through and

3    including October 5, 2012, pursuant to 18 U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to

4    prepare] and Local Code T4.

5    Based on these findings and pursuant to the stipulation of the parties, the Court hereby adopts the

6    stipulation of the parties in its entirety as its order.

7    IT IS SO ORDERED.

8    Date: 9/21/2012

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                                                  ___________________________________
10                                                GARLAND E. BURRELL, JR.
                                                  Senior United States District Judge
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     DEAC_Signature-END:




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